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                             6
                             7
                             8                         UNITED STATES DISTRICT COURT
                             9
                                                 CENTRAL DISTRICT COURT OF CALIFORNIA
                            10
                            11
                            12
                            13   ARCONIC INC., et al.,                         Case No. 2:14-cv-06456 GW (Ex.)

                            14                                                 SUPPLEMENTAL BRIEF OF
                                                  Plaintiffs,                  THE PATSOURAS PROPERTY
                            15
                                                                               DEFENDANTS (HALLIBURTON
                            16         v.                                      AFFILIATES, LLC; INTER-
                                                                               VENORS FIREMAN’S FUND
                            17                                                 INSURANCE CO. AND FEDERAL
                                 APC INVESTMENT CO., et al.,                   INSURANCE CO., AS INSURERS
                            18                                                 OF PALLEY SUPPLY CO.; AND
                            19                       Defendants.               KEKROPIA, INC.) IN SUPPORT
                                                                               OF THEIR MOTION FOR
                            20                                                 SUMMARY JUDGMENT AND
                                                                               KEKROPIA’S OPPOSITION TO
                            21                                                 PLAINTIFFS’ MOTION FOR
                            22
                                                                               PARTIAL SUMMARY
                                 AND RELATED CROSS ACTIONS,                    JUDGMENT
                            23   COUNTERCLAIMS AND THIRD-
                                 PARTY COMPLAINTS
                            24
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                            26
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                             1          I.   INTRODUCTION: CROSS-MOTIONS AND CONTESTED
                                             CERCLA ELEMENTS IN THIS PHASE OF THE CASE
                             2
                                        The Patsouras Property pending cross-motions for partial summary judgment
                             3
                                 are: (1) the Patsouras Property Defendants’1 motion against Plaintiffs and (2)
                             4 Plaintiffs’ motion against Kekropia, Inc. (the current Patsouras Property owner).
                             5        The contested CERCLA elements in this phase are: (1) whether a “release” to
                             6 groundwater of a hazardous substance occurred at or from the Patsouras Property
                             7 (the “Release Element”)2 and (2) whether Palley Supply Company3 is within one of
                             8 the classes of persons subject to CERCLA liability (the “Disposal Element”). Note
                             9 that the Court can and should analyze whether Palley is a “covered person”
                            10 independently from the other defendants, and because Plaintiffs did not file an
                            11 affirmative summary judgment motion against Palley, any evidence contained in
                            12 their affirmative motion against only Kekropia cannot be considered against Palley.
                            13 The Patsouras Property Defendants, as moving parties without the ultimate burden
                            14
                                 of proof at trial, need negate only one of the two elements to prevail on their
                                 motion.4 However, Plaintiffs, as moving parties with the ultimate burden of proof at
                            15
                                 trial, “must affirmatively demonstrate that no reasonable trier of fact could find
                            16
                                 other than for [them]” on both contested elements on their motion.5
                            17
                                        II.   PLAINTIFFS HAVE NOT SHOWN A HAZARDOUS
                            18                SUBSTANCE RELEASE FROM THE PROPERTY SOIL INTO
                            19                THE GROUNDWATER (“RELEASE ELEMENT”)
                                              A. The Government Agencies, On-Site Consultants, and Expert Dr.
                            20                   Kulla Find No Release.
                            21          Did hazardous substances in the Patsouras Property soil migrate from the soil
                            22 surface into the groundwater, 35 to 74 feet below the soil surface? No. More than
                            23 five years ago, the L.A. Regional Water Quality Control Board determined—after
                            24
                            25   1
                                 Halliburton Affiliates, LLC; Intevenors Fireman’s Fund Insurance Company and Federal
                               Insurance Company, as Insurers for Palley Supply Company; and Kekropia, Inc.
                            26 2 A “threatened release” won’t suffice here; see footnote 7 and accompanying text.
                               3
                                 Intevenors Fireman’s Fund and Federal Insurance Company are the insurers of now-defunct
                            27 Palley Supply Company and are the named defendants in this case.
                               4
                                 See Nissan Fire & Marine Ins. Co. Ltd. v. Fritz Cos. Inc., 210 F.3d 1099, 1102 (9th Cir. 2000).
                            28 5 Soremekun v. Thrifty Payless, Inc., 509 F.3d 978, 984 (9th Cir. 2007).
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                             1 an eight-year investigation—that the Property was not contributing to the
                             2 groundwater contamination, issuing a “No Further Action Letter” to Defendant
                             3 Kekropia, Inc., and ordering it to remove existing groundwater monitoring wells,
                                                                                         6
                             4 since the Board’s determination rendered them unnecessary. Plaintiffs must show
                             5 an actual release (not a “threatened release”) since the Regional Board determined
                             6 that no “threatened release” exists and thus Plaintiffs have not and will not incur any
                                 “threatened release” costs.7
                             7
                             8          Similarly, the U.S. EPA elected not to issue notice letters of potential liability

                             9
                                 to the Patsouras Property Defendants.8

                            10          Two different environmental consultants, after thoroughly investigating the

                            11 Patsouras Property, also concluded the answer was “No”:
                            12          ● “No threat exists to groundwater from metals, solvents, and total petroleum

                            13 hydrocarbons; petroleum and solvents at the Property “had insufficient mass for
                                 vertical migration, with sorption and desorption, in excess of a few feet.” 9
                            14
                            15          ● Chlorinated compounds “are not generally identified in soil at the Site but

                            16
                                 are present in ground water at concentrations that are consistent with the regional
                                 impact to ground water”; “the chlorinated compounds detected in ground water at
                            17
                                 the Site are not the result of former site activities.”10
                            18
                                        Retained expert Dr. Jean Kulla—a geologist with a Ph.D. in geochemistry and
                            19
                            20 decades of experience assessing soil and groundwater contamination— reviewed
                            21
                            22   6
                                   Dkt. 902-77.
                                 7
                                   Moreover, “where the response costs are incurred solely as a result of and in response to actual
                            23   contamination [as opposed to a “threatened release”], the plaintiff must prove that the release by
                                 the defendant actually caused the contamination at plaintiff’s site.” Thomas v. FAG Bearings
                            24   Corp., 846 F.Supp. 1382, 1390.
                                 8
                                   The U.S. Environmental Protection Agency investigated properties overlying the Omega plume
                            25   which may have contributed to the OU-2 contamination and issued notice letters to more than 42
                                 owners and operators of properties which may have contributed, in accordance with EPA’s policy
                            26   to issue notice letters “to all parties where there is sufficient evidence to make a preliminary
                                 determination of potential liability under §107 of CERCLA.” Dkt. 958 at 60, fn. 1, 2.
                            27   9
                                   Dkt. 902-82 at 8.
                                 10
                                    Dkt. 902-79 at 25.
                            28
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                             1 more than ninety (90) reports with soil and groundwater data from the Property,
                             2 neighboring properties, and the Omega Site, and concluded that “there is no
                             3 evidence, historical or more recent, that shows that the Patsouras Property has been,
                                                                                                              11
                             4 is, or threatens to be a contributing source of hazardous substances to OU-2.”
                             5             To assess whether a property has contributed to groundwater contamination,
                             6 hydrogeologists ask two questions:
                             7             (1) Is there a demonstration that chemical contaminants in the soil have
                             8 migrated down through the soil and contacted the water table?
                             9             (2) Is there a consistent pattern of higher contaminant concentrations in the
                            10 groundwater downgradient from the property (flowing off the property) than in the
                            11 upgradient groundwater (flowing onto the property)?
                            12             Here the data clearly show that the answers to both questions are “no,” and
                            13 Plaintiffs have not identified any disputed material facts showing otherwise (i.e.,
                            14 that there is a genuine issue for trial).
                            15                B. Plaintiffs Have Failed to Proffer Admissible Evidence Sufficient to
                            16                    Establish that There Was a Release to Groundwater
                                           Plaintiffs could have collected site data at the Patsouras Property in discovery
                            17
                                 in this case, but they chose not to do so —instead relying solely on conjecture,
                            18
                                 suppositions, and speculation attempting to undermine the data-based conclusions of
                            19
                                 the government agencies, the consultants, and Dr. Kulla. But conjecture,
                            20
                                 suppositions, and speculation do not and cannot create a genuine issue of material
                            21
                                 fact. Plaintiffs don’t—and can’t—provide:
                            22
                                           (1) any data showing that any hazardous substances in the Property soil
                            23
                                 vertically migrated to the depth of the groundwater; and
                            24
                                           (2) any data showing that the groundwater leaving the Property has been or is
                            25
                                 more contaminated than the groundwater coming onto the Property.
                            26
                            27
                            28   11
                                      Dkt. 902-86 at 1.
                                                                               -3-

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                             1                1. Plaintiffs Proffer No Admissible Evidence Showing that Soil
                                                 Contaminants Impacted the Groundwater
                             2
                                                 (a) Soil Samples Above Screening Levels Do Not Show that Soil
                             3                        Contaminants Impacted Groundwater.
                             4          Of 260 soil samples taken on the Property over 16 years, PCE and TCE
                                                                                                12
                             5 were found in only a few soil samples at very low concentrations. Plaintiffs
                                 argue that because a few soil samples were above Environmental Screening
                             6
                                 Levels (“ESLs”), those contaminants likely reached groundwater. (Dkt. 948 at
                             7
                                 47:7-15.) Not so. That’s a complete distortion of the use and meaning of ESLs,
                             8
                                 which are a preliminary screening tool. A chemical above an ESL does not
                             9
                                 mean that chemical migrated into the groundwater—it means only that
                            10
                                 additional evaluation is warranted.”13 And here, after the “additional
                            11
                                 evaluation” was conducted, the Regional Board determined that the Patsouras
                            12
                                 Property was not impacting the groundwater.
                            13                (b) Chromium Detected in a Two-Foot-Deep Sample Did Not
                            14                    Contact Groundwater.
                                        Only one soil sample of 60 tested for chromium was above naturally-
                            15
                                 occurring background levels, taken two feet below ground surface.14 Plaintiffs’
                            16
                                 argument that the chromium was not naturally-occurring was rejected by the
                            17
                                 Regional Board, which applied the actual concentrations of naturally-occurring
                            18
                                 chromium found in Los Angeles soils, and ruled out chromium as a contaminant of
                            19
                                 concern.15 Plaintiffs also argue that even the background-level chromium could
                            20
                                 include hexavalent chromium, but the Regional Board ruled that out as well.16
                            21 Finally, two significant facts confirm that the Property has not contributed
                            22
                            23
                                 12
                                    Id. at 3. The maximum PCE concentration was 0.51 mg/kg and TCE was 0.27 mg/kg.
                            24   13
                                    Dkt. 963-3 at 5.
                                 14
                                    Dkt. 902-86 at 3._
                            25   15
                                    Dkt. 963-4 at 7-8.
                                 16
                                    The Regional Board did not require sampling for hexavalent chromium because the Patsouras
                            26   Property soil is anoxic (lacking oxygen), which means the soil is “reducing.” Thus, any
                                 hexavalent chromium in the soil would have been chemically reduced to harmless trivalent
                            27   chromium long before it could have made its way 35 to 75 feet to groundwater, the chemical
                                 environment is reducing, transforming hexavalent chromium into harmless trivalent chromium.
                            28   Dkt. 963-3 at 6.
                                                                               -4-

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                             1 hexavalent chromium to the groundwater: (1) upgradient groundwater flowing onto
                             2 the Property already contains hexavalent chromium,17 and (2) groundwater under
                             3 the Patsouras Property contained only de minimis concentrations of chromium —
                                                                                                          18
                             4 below the drinking water standard (the Maximum Contaminant Level, or MCL).
                             5                        (c) Two Borings with PCE Detections Do Not Show that PCE
                             6                            Contacted Groundwater.
                                        Plaintiffs argue that PCE detected at low concentrations in two borings (B-7
                             7
                                 and E-9) shows that PCE must have migrated deep enough to contact the
                             8
                                 groundwater table (Dkt. 948 at 50:1-6). But there is no material fact in dispute here.
                             9
                                 Plaintiffs’ expert Mr. Mutch admitted that he was aware of no data indicating that
                            10
                                 the water table in the area of B-7 and E-9 was ever higher than 35.84 feet.19 The
                            11
                                 deepest samples with any concentration of PCE were found at 25 feet bgs in B-7 and
                            12 at 30 feet bgs in E-9—above the highest level of the water table and, significantly,
                            13 both soil samples were entrained in heavy oil, impeding their mobility.20 Because
                            14 the data confirm that the deepest borings in which PCE was detected did not contact
                            15 the water table, Plaintiffs resort to pure conjecture—and to using a variety of
                            16 creative adjectives—to suggest that the water table was higher.21
                            17                        (d) Contaminants in the Soil Gas Came from the Omega
                            18                            Plume, Not the Property.
                            19          Plaintiffs argue in a footnote that soil gas sample results “localized in a

                            20
                            21   17
                                    Dkt. 902-86 at 8.
                                 18
                                    Id. at 5. Plaintiffs argue that even though the levels currently in the groundwater are safe to
                            22   drink, “historical releases” that “have already left the property” might have been higher (Dkt.
                                 948 at 54:4-9). The problem with Plaintiffs’ conjecture is that there’s no evidence of historical
                            23   releases of chromium at the Property (see discussion, infra).
                                 19
                                    Dkt. 963-5 at 6-8.
                            24   20
                                    Dkt. 963-3 at 6-7.
                                 21
                                    Plaintiffs say that the water table was present at “around” 30 feet bgs (Dkt. 948 at 50:25-26)
                            25   (emphasis added); that the borings revealed PCE to be at the “effective depth” of the groundwater
                                 table (Id. at 50:28-51:-3) (emphasis added); that water depths were “perhaps” as close as 25 feet
                            26   bgs (Id. at 51:6-9) (emphasis added); that samples at 25 feet bgs were “down to, or very nearly
                                 down to, the water table” (Id. at 24-25) (emphasis added); that a depth of 25 feet bgs “was within
                            27   a few feet of the depth of groundwater during this time period” (Id. at 47:26-28)(emphasis added);
                                  and that “the groundwater table could have been as shallow as 25 feet bgs at times during this
                            28   period” (Id. at 47:28-42:-2) (emphasis added).
                                                                                 -5-

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                             1 portion of the Property with high PCE soil levels,” signify “a definitive onsite
                             2 source” (Dkt. 950-1 at 38, fn. 25.), but that argument was debunked by the
                             3 Regional Board. To assess whether the soil gas concentrations might indicate a
                             4 soil source at the Property, the Board required four 70-foot-deep borings in the
                             5 area with the highest soil gas readings, and soil samples were collected at depths
                             6 of 5, 10, 15, 20, 25, 30, 35, 40, 45, 50, 55, 60, 65 and 70 feet bgs. No volatile
                                 organic compounds were detected in any of the soil samples,22 confirming that
                             7
                                 there was no soil source of PCE or TCE (or any other volatile organic
                             8
                                 compound). The Regional Board concluded that the soil gas vapor on the
                             9
                                 Property resulted from degassing off the contaminated Omega Plume, not from
                            10
                                 soil contaminants. Mr. Mutch’s contrary speculation23 is just that—it’s not a
                            11
                                 disputed material fact.
                            12
                                                      (e) The Conjecture of Two Fire Department Employees (20
                            13
                                                          Years Before the Property Investigation Was Completed)
                            14                            Was Based on an Erroneous Reading of the Data.
                                        Plaintiffs argue that opinions of two fire department employees rendered
                            15
                                 more than twenty (20) years before the Patsouras Property site investigation was
                            16
                                 completed constitute a disputed material fact. Because the opinions were based on
                            17
                                 an erroneous assumption about the facts, they do not.
                            18
                                        Plaintiffs cite a memo authored by Steve Chase, “an employee” of the Santa
                            19
                                 Fe Springs Fire Department, opining that historic Palley contamination “probably”
                            20
                                 contributed to the VOC portion” of the groundwater under the Property and that
                            21
                                 PCE was found in a soil column [boring E-9] “from 10 feet bgs to 35 feet bgs.”
                            22 (Dkt. 950-1 at 46:4-47:1). Plaintiffs also cite a letter from Chase’s boss (Dave
                            23 Klunk) echoing portions of Chase’s memo verbatim. (Dkt. 950-1at 47:1-5.) 24
                            24
                            25
                                 22
                                  Dkt. 963-3 at 9-11.
                            26   23
                                  “These soil gas findings in conjunction with the earlier discussed soil and groundwater
                               data, strongly support the conclusion that the Patsouras property has contributed PCE to
                            27 soil, soil vapor, and groundwater.” Dkt. 903-204 at 168)(emphasis added).
                               24
                                  Mr. Chase’s boss, Dave Klunk, relies on and then enhances Mr. Chase’s memo to say
                            28 that there was “demonstration of HVOC contamination to GW” in a letter to the Regional
                                                                                -6-

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                             1         But Mr. Chase and his boss misinterpreted the sampling data. PCE was not
                             2 found “from 10 feet bgs to 35 feet bgs,” as they both erroneously wrote: PCE was
                                                                 25
                             3 found at 30 feet bgs, not 35 feet. The fire department employees asked the
                             4 Regional Board to take responsibility for oversight. The Regional Board did just
                             5 that, and after 8 years of investigation, the Board determined that the Property was
                             6 not impacting groundwater.
                             7
                             8                 C. The Data Show Consistently Higher Concentrations of
                                                  Contaminants Coming Onto the Property from Upgradient
                             9                    Sources than Leaving the Property.
                            10
                            11         The data show that the Property was not contributing contaminants to the OU-
                                             26
                            12 2 Omega Plume, because the concentrations of PCE and TCE in the groundwater
                            13 coming onto the Property from upgradient sources (including, of course, from
                            14 Plaintiffs’ wastes at the Omega Site) are and have been consistently higher than the
                                                                   27
                            15 concentrations leaving the Property. Plaintiffs’ only retort was to argue that the
                                 Pilot Chemical wells used to assess upgradient impacts perhaps weren’t upgradient.
                            16
                                 But even Plaintiffs’ expert Mr. Mutch admitted that Pilot Chemical “is probably at
                            17
                                 least partially upgradient to some parts of the [Patsouras] property.”28 Incredibly,
                            18
                                 however, Mr. Mutch failed to consider any of the Pilot Chemical wells.29 The
                            19
                                 Regional Board, the environmental consultants for the Patsouras and the Pilot
                            20
                                 Chemical properties, and Dr. Kulla all concluded that the Pilot Chemical wells were
                            21
                                 upgradient of the Patsouras Property. Plaintiffs’ clearly erroneous argument doesn’t
                            22
                                 constitute a material disputed fact. Dr. Kulla’s and Pilot Chemical’s groundwater
                            23 flow direction contours confirm that the wells Dr. Kulla used as upgradient to the
                            24
                            25
                                Board. (Dkt. 948 at 53:7-11).
                            26   25
                                  Dkt. 963-7 at 4-5.
                               26
                                  Dkt. 963-3 at 2.
                            27 27 Id. at 14.
                               28
                                  Dkt. 963-5 at 7:25-8:8.
                            28 29 Dkt. 963-3 at 13; Mutch Tr. at 775:21-778:1.
                                                                                 -7-

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                             1 Patsouras Property wells (Pilot Chemical wells 5, 6, 7, and 8) are indisputably
                             2 upgradient of those wells. 30
                             3         III. PLAINTIFFS HAVE NOT MET THEIR BURDEN ON THE
                                            “DISPOSAL ELEMENT” AS TO PALLEY.
                             4         Former owners and operators are liable under CERCLA if, and only if, they
                             5 owned and operated the property “at the time of disposal of any hazardous
                             6 substance,” (42 U.S.C. §9607(a)(2)). The “mere existence of a scintilla of
                             7 evidence” is insufficient to meet plaintiffs’ burden with respect to this motion.
                             8 Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 252 (1986). Here, Plaintiffs do not
                             9 even muster up a “mere scintilla,” Rather, there is an indisputable absence of any
                            10 evidence from which a trier of fact could conclude (as opposed to speculate) that
                            11 Palley even used an OU-2 Hazardous Substance in its operations, let alone that there
                            12 was a “disposal” of such a substance during Palley’s ownership and operation of the
                            13 Property from the late 1970s to the early 1980s. (Dkt. 902 at 57:10-19). Because
                                 Plaintiffs’ evidence fails to substantiate in any fashion whatsoever the disposal of an
                            14
                                 OU-2 Hazardous Substance, the Court must grant summary judgment to Palley.
                            15
                                              A.      Santa Fe Springs Fire Department NOV 74 (5/18/84)
                            16
                                       Plaintiffs cite this Notice of Violation (“NOV”) for an overflow from a sump
                            17 and two abandoned clarifiers due to a plugged sewer line.31 But nothing in this
                            18 NOV indicates a disposal of an OU2-hazardous substance.
                            19                B.      Santa Fe Springs Fire Department NOV 75 (5/18/88)
                            20         Plaintiffs cite this NOV for excessive waste in two abandoned clarifiers,32 but

                            21 the NOV actually states there was “oil and grease” in the clarifiers. Nothing in it
                                 identifies an OU2-hazardous substance disposal; oil and grease are excluded from
                            22
                                 the CERCLA definition of “hazardous substance.” 42 U.S.C. §9601(14).
                            23
                            24
                            25   30
                                  Dkt. 963-9 (Dr. Kulla Contours); Dkt. 963-10 (AECOM (Pilot Chemical’s consultant) Letter
                            26 31 Figures; Figure 2 at 7.).
                               and
                                  Dkt. 950-1, 36:12-15; Opp’n RFJN, Ex 17 (Santa Fe Springs Fire Dept. Notice of Violation No.
                            27 74, May 18, 1988).
                               32
                                   Dkt. 950-1, 36:12-15; Opp’n RFJN, Ex 17 (Santa Fe Springs Fire Dept. Notice of Violation
                            28 No. 74, May 18, 1988).
                                                                              -8-

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                          1                 C.     Inspection Record for Talco Plastics, May 18, 1988.
                          2          Plaintiffs cite this inspection report stating that the abandoned clarifiers were
                          3 filled with trash and oil, and that during a rainstorm, “industrial waste” was
                                                        33
                          4 overflowing into the street. But the report did not identify what the “industrial
                          5 waste” constituted, there is no indication it included any OU2-hazardous substances,
                          6 and Plaintiffs provide no facts to the contrary.
                          7                 D.      Environmental Audit, Inc. (“EAI”) Supplemental Subsurface
                                                    Investigation (4/4/97)
                          8          Plaintiffs cite this report for two things. First, in 1978 Palley “received a
                          9 NOV for discharging industrial wastewater from its steam cleaning operation to the
                         10 public sewer system . . .”34 Plaintiffs did not produce the 1978 NOV, but Plaintiffs
                         11 themselves note that the NOV refers only to “industrial wastewater” and do not
                         12 argue it was an OU2-hazardous waste. Second, Plaintiffs cite this report for a 1987
                                                                    35
                         13 criminal complaint filed against Palley, but, as Plaintiffs state, the complaint was
                         14 associated with two subsurface structures containing a “black oily liquid resembling
                         15 waste oil”; there is no identification of a disposal of an OU2-hazardous substance.
                              EAI did not identify the particular constituents in any waste discussed in the report,
                         16
                              let alone the OU2-hazardous substances at issue in this case.
                         17
                                     Thus, the evidence proffered by Plaintiffs shows that Palley was cited, at
                         18
                              most, for trash, oil, and industrial wastewater. Rank speculation cannot as a matter
                         19
                              of law fill the evidentiary gap on a mandatory element of the statute. In the absence
                         20
                              of any identifiable evidence that shows a disposal of an OU2-hazardous substance
                         21
                              when Palley owned and operated the Property, Plaintiffs have failed their burden on
                         22
                              the “Disposal Element,” and summary judgment must be granted to Palley.
                         23
                         24
                         25
                              33
                               Dkt. 950-1, 36:8-11; RFJN, Ex 101 (Inspection Record for Talco Plastics, May 18, 1988
                         26   34
                               Dkt. 950-1, 36:2-5; Valenzuela Decl., Ex 6, at 66 (Environmental Audit, Inc. Supplemental
                         27 Subsurface   Investigation, Mar. 3, 1997 at 3)).
                            35
                               Id. at 36:5-8; Valenzuela Decl., Ex 6, at 66 (Environmental Audit, Inc. Supplemental
                         28 Subsurface Investigation, Mar. 3, 1997 at 3.)
                                                                            -9-

                                         PATSOURAS PROPERTY DEFENDANTS’ SUPPLEMENTAL BRIEF ISO MSJ &
TOR & WICK LLP
                                         KEKROPIA OPP’N TO MSJ           C  N 2 14 CV 06456 GW (E )
rand Avenue, Suite 200
                     Case 2:14-cv-06456-GW-E Document 1065 Filed 05/02/22 Page 11 of 12 Page ID #:33486



                          1         IV.     CONCLUSION
                          2
                                    Because Plaintiffs have failed to provide admissible evidence showing that
                          3
                              hazardous substances from the Patsouras Property impacted groundwater, the
                          4
                              Patsouras Property Defendants’ motion should be granted, and Plaintiffs’ motion
                          5
                              should be denied. Plaintiffs do not provide any evidence, not even a “scintilla,”
                          6
                              supporting the assertion that Palley Supply used or disposed of any OU-2 hazardous
                          7
                              substance during its ownership or operation at the Property. Thus, Palley is not a
                          8
                              “covered person,” and Plaintiffs cannot meet their burden of proof regarding the
                          9 disposal element of their CERCLA claim. Therefore, Palley is entitled to summary
                         10 judgment on this additional ground.
                         11
                              DATED: May 2, 2022                      WACTOR & WICK LLP
                         12
                         13
                                                               By:             /s/ William D. Wick
                         14                                           William D. Wick, Attorneys for Defendant
                         15                                           Halliburton Affiliates, LLC

                         16   DATED: May 2, 2022                      EDLIN GALLAHER HUIE + BLUM LLP

                         17
                         18
                                                                By:            /s/ Farheena A. Habib
                         19
                         20                                           Farheena A. Habib, Attorneys for Interveners
                                                                      Fireman’s Fund Insurance Company and
                         21                                           Federal Insurance Company, as Insurers for
                         22                                           Palley Supply Company
                              DATED: May 2, 2022                      OTTEN LAW, PC
                         23
                         24
                         25                                    By:             /s/ Victor Otten
                         26                                           Victor Otten, Attorneys for Defendant
                         27                                           Kekropia, Inc.

                         28
                                                                        -10-

                                          PATSOURAS PROPERTY DEFENDANTS’ SUPPLEMENTAL BRIEF ISO MSJ &
TOR & WICK LLP
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rand Avenue, Suite 200
Case 2:14-cv-06456-GW-E Document 1065 Filed 05/02/22 Page 12 of 12 Page ID #:33487



 1
     Re:       Arconic, Inc., et al. v. APC Investment Co., et al.
 2             United States District Court, Central District Case No. 2:14-cv-06456-
 3
               GW-E

 4               PROOF OF SERVICE – ELECTRONIC TRANSMISSION
 5
 6             STATE OF CALIFORNIA/COUNTY OF San Francisco
 7             I am a citizen of the United States and an employee in the County of San
 8   Francisco. I am over the age of eighteen (18) years and not a party to the within
 9   action. My business address is EDLIN GALLAGHER HUIE + BLUM, 500
10   Washington Street, Suite 700, San Francisco, California 94111.
11             On May 2, 2022, I electronically served the document(s) via USC CDCA
12   ECF website, described below, on the recipients designated on the Transaction
13   Receipt located on the USDC CDCA ECF website.
14
15        SUPPLEMENTAL BRIEF OF THE PATSOURAS PROPERTY
      DEFENDANTS (HALLIBURTON AFFILIATES, LLC; INTER- VENORS
16
     FIREMAN’S FUND INSURANCE CO. AND FEDERAL INSURANCE CO.,
17    AS INSURERS OF PALLEY SUPPLY CO.; AND KEKROPIA, INC.) IN
18     SUPPORT OF THEIR MOTION FOR SUMMARY JUDGMENT AND
     KEKROPIA’S OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL
19                      SUMMARY JUDGMENT
20   On the following parties:
21
22         PLEASE SEE SERVICE LIST PROVIDED BY USDC CDCA WEBSITE
23
24             I declare under penalty of perjury that the foregoing is true and correct and
25   that this document is executed on May 2, 2022, at San Francisco, California.
26
27                                        /s/ Bridgette C. Burdick
                                          BRIDGETTE C. BURDICK
28

     3400469

                                                   1
                                            PROOF OF SERVICE
